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                                                        June 20, 2017

Via ECF

Honorable Valerie Caproni, U.S.D.J.
United States District Court
Southern District of New York
40 Foley Square, Room 240
New York, NY 10007

                              Re:      Edwin Zayas v. Serafina Meatpacking, LLC
                                       Case No.: 17-cv-3111

Dear Judge Caproni:

       We represent the plaintiff in the above-referenced case. In response to Your Honor’s
Order (Docket No. 15), dated June 9, 2017, we submit this letter to show cause why this case
should not be dismissed for failure to appear and why the Court should not sanction Plaintiff.

       As plaintiff’s attorney, I sincerely apologize to the court and Defendants for the
nonappearance at the initial conference. The nonappearance was not willful or done with any
malice. The week before the initial conference, parties submitted a joint application to adjourn
the conference to June 9, 2017. The court granted the adjournment. However, my office failed to
calendar the new date.

        Furthermore, the week of June 12, 2017, I had two oral surgeries which incapacitated my
attention to any legal matter. Consequently, I did not read the order to show cause until today
stating that the response was due by June 16, 2017. I am now back in the office and am catching
up to date and can assure you this will not occur again.

        Additionally, setting aside a dismissal of this case would not prejudice Defendants. I have
communicated with Defendant Serafina Meatpacking’s attorney and anticipate finding an
amicable resolution to this action without the need of much court intervention. Accordingly,
please accept my sincere apologies and restore the initial conference.

                                                Respectfully,

                                                /s/ James E. Bahamonde
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                                   James E. Bahamonde, Esq.



cc: (via ECF)
Ann Marie Barbagallo, Esq.
Attorneys for Yamco II LLC
